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OF TEXAS






NO. WR-74,908-01






EX PARTE TRAVERS EARL CRUMPTON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. CR26914
IN THE 253RD DISTRICT COURT FROM LIBERTY COUNTY 




	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure,
the clerk of the trial court transmitted to this Court this application for writ of habeas corpus. 
Ex parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of
the offense of evading arrest with a vehicle and sentenced to imprisonment for fifteen years. 

	On February 9, 2011, an order designating issues was signed by the trial court. It
appears that the order was untimely filed and the clerk therefore properly forwarded the
application to this Court.  This Court has not received any findings of fact from the trial court
in this cause.  We remand this application to Liberty County to allow the trial judge to
complete an evidentiary investigation and enter findings of fact and conclusions of law.

	This application will be held in abeyance until the trial court has resolved the fact
issues.  The issues shall be resolved within 90 days of this order.  If any continuances are
granted, a copy of the order granting the continuance shall be sent to this Court. A
supplemental transcript containing all affidavits and interrogatories or the transcription of the
court reporter's notes from any hearing or deposition, along with the trial court's
supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order.  Any extensions of time shall be obtained from this Court. 

Filed: May 25, 2011

Do not publish 


	


